Case 7:10-cr-00054-MFU         Document 261 Filed 07/18/12         Page 1 of 1 Pageid#:
                                         1242                                rdFRT: OFFICE U.8.b681 '-OURT
                                                                                         AT RC),
                                                                                               ANCAKE, VA


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                      IN T H E U N ITE D STATE S D ISTR ICT C O U R T
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SEAN A NTO NIO R O BER TSO N ,
                                                 C rim inalA ction N o.7:10-cr-00054
      Petitioner,

V.                                               2255 FIN AL O R DE R

U N ITED STA TE S,
                                                 By:Sam uelG .W ilson
      R espondent.                               United States D istrictJudge


      ln accordance w ith the m em orandum opinion entered on this day,itishereby

ORDERED andADJUDGED thatSeanAntonioRobertson'smotionplzrsuanttoj2255is
D EN IED and thism attershallbe STR ICK EN from the active docketofthe court.

      Further,tinding thatR obertson hasfailed to m ake a substantialshow ing ofthe denialofa

constitutionalrightasrequired by28U.S.C.j2253(c)(1),acertiticateofappealability is
D ENIED .

      The Clerk ofthe Courtis DIR EC TE D to send a certitied copy ofthisorder and the

accom panying m em orandum opinion to the petitioner.
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ENTER :July 18,2012.

                                                        UKIT       ATESDISTRICT JUDGE
